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 11    GLAUKOS CORPORATION
 12                           UNITED STATES DISTRICT COURT
 13                         CENTRAL DISTRICT OF CALIFORNIA
 14                                   SOUTHERN DIVISION
 15 GLAUKOS CORPORATION, a                     )   Case No. 8:18-cv-00620-JVS-JDE
      Delaware Corporation,                    )
 16                                            )   [PROPOSED] ORDER GRANTING
                      Plaintiff and Counter-   )   PLAINTIFF GLAUKOS
 17                   Defendant,               )   CORPORATION’S MOTION TO
                                               )   COMPEL IVANTIS TO RESPOND
 18              v.                            )   TO REQUEST FOR PRODUCTION
                                               )   NOS. 27, 28, 29, 31, AND 39
 19 IVANTIS, INC., a Delaware                  )
      Corporation,                             )   [Discovery Document: Referred to
 20                                            )   Magistrate Judge John D. Early]
                      Defendant and            )
 21                   Counterclaimant.         )   Hearing Date: January 24, 2019
                                               )   Time: 10:00 a.m.
 22                                            )
                                               )   Location: Courtroom 6A
 23                                            )   Judge: Hon. John D. Early
                                               )
 24                                            )   Discovery Cut-off: June 24, 2019
                                               )
 25                                            )   Pre-trial conference: Jan. 13, 2020
                                               )   Trial date: February 4, 2020
 26                                            )
                                               )
 27

 28
                                                                  [PROPOSED] ORDER GRANTING GLAUKOS
                                                                     CORPORATION’S MOTION TO COMPEL

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  1              The Court hereby GRANTS Glaukos Corporation’s Motion to Compel
  2 Ivantis To Respond To Request For Production Nos. 27, 28, 29, 31, and 39. The

  3 Court orders Defendant Ivantis, Inc. (“Ivantis”) to do the following within 10 days

  4 of the date of this Order:

  5                1. Comply in full with Requests for Production Nos. 27 and 28.
  6                2. Produce the following documents responsive to Requests for
  7                   Production Nos. 29 and 31:
  8                      o Ivantis historical financial data, by quarter (or month, if
  9                         available) since Ivantis began developing the Hydrus, including
 10                         documents sufficient to show (1) Ivantis’s revenue and funding
 11                         and (2) all categories of Ivantis expenses (such as research and
 12                         development, sales/marketing, and regulatory costs) relating to
 13                         the Hydrus.
 14                      o E-mails and other documentation of Ivantis’s plans to compete
 15                         for Glaukos customers, including without limitation all
 16                         documents regarding contact by Ivantis with Glaukos customers,
 17                         and internal discussions regarding Glaukos’s customers,
 18                         volumes, and pricing. For avoidance of doubt, this includes
 19                         without limitation Ivantis communications with the Glaukos
 20                         customers identified in Ivantis’s Board of Directors Presentation
 21                         (IVNTS_00020338), internal discussions about how to target
 22                         these and other current Glaukos customers, and emails or other
 23                         communications to or from the two Ivantis salespersons that
 24                         Ivantis recently hired from Glaukos (Mr. Olson and Mr.
 25                         Gregory).
 26                3. Produce at least the following documents in response to Request for
 27                   Production No. 39:
 28
                                                                      [PROPOSED] ORDER GRANTING GLAUKOS
                                                                         CORPORATION’S MOTION TO COMPEL

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  1                     o E-mails and other documentation of efforts by Ivantis to target
  2                        Glaukos’s existing customers and/or hire Glaukos employees
  3                        knowledgeable about Glaukos’s customers and pricing, including
  4                        without limitation documents regarding contact by Ivantis with
  5                        Glaukos customers, and internal discussions regarding Glaukos’s
  6                        customers, volumes, and pricing;
  7                     o E-mails and other documents referring to Glaukos’s financial
  8                        metrics or regulatory strategy, including without limitation
  9                        documents using Glaukos’s past or current financial metrics or
 10                        regulatory strategy as a reference or input to Ivantis’s plans,
 11                        strategy, or projections; and
 12                     o Communications with investors, potential investors, customers,
 13                        potential customers, employees, and potential employees
 14                        regarding similarities between the Hydrus and Glaukos’s
 15                        products or patents.
 16              IT IS SO ORDERED.
 17
      Dated: ______________ , 2019
 18                                               Hon. John D. Early
                                                  Magistrate Judge for the Central District
 19                                               of California
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                                                                     [PROPOSED] ORDER GRANTING GLAUKOS
                                                                        CORPORATION’S MOTION TO COMPEL

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